
43 A.3d 338 (2012)
425 Md. 698
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND
v.
Harry Walter BLONDELL.
Misc. Docket AG No. 69, September Term, 2011.
Court of Appeals of Maryland.
April 25, 2012.

ORDER
This matter came before the Court on the Joint Petition of the Attorney Grievance Commission of Maryland and Respondent, Harry Walter Blondell, to disbar Respondent by consent from the practice of law.
The Court, having considered the Petition, it is this 25th day of April, 2012,
ORDERED, by the Court of Appeals of Maryland, that the Respondent, Harry Walter Blondell, be and is hereby disbarred by consent from the practice of law in the State of Maryland, effective thirty (30) days from the date of this Order, and it is further,
ORDERED that the Clerk of this Court shall remove the name of Harry Walter Blondell from the register of attorneys in the Court, and certify that fact to the Client Protection Fund and the Clerks of all judicial tribunals in this State in accordance with Maryland Rule 16-772(d).
